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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
IN RE:                          §
KOONTZ-WAGNER CUSTOM            §        CASE NO. 18-33815-H1-7
CONTROL HOLDINGS, LLC           §        (CHAPTER 7)
       DEBTOR                   §
                                §


                                 REPORT OF SALE

TO THE HONORABLE BANKRUPTCY JUDGE MARVIN ISGUR:

      COMES NOW, RODNEY TOW, Chapter 7 Trustee and files this original Report of Sale.

                               See Attached Exhibit “A”


SIGNED: September 27, 2018

                                       Respectfully submitted,


                                       /s/Rodney Tow
                                       Rodney Tow
                                       TX. Bar No. 20152500
                                       1122 Highborne Cay Court
                                       Texas City, TX 77590
                                       281-429-8300
                                       rtow@rtowtrustee.com
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                         Exhibit "A"
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                         Exhibit "A"
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                         Exhibit "A"
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                         Exhibit "A"
